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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


FAIR FIGHT ACTION, INC, et al.,
      Plaintiffs,
      v.                                              Civil Action No.
                                                      1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, et al.,
   Defendants.




                                [PROPOSED] ORDER

      This matter is before the Court on Plaintiffs’ Fair Fight Action, Inc. and

Baconton Missionary Baptist Church, Inc.’s Motion for Partial Summary Judgment

of Count VI of Plaintiffs’ Second Supplemental Complaint. The Court GRANTS

Moving Plaintiffs’ Motion for Partial Summary Judgment on Count IV of

Plaintiffs’ First Supplemental Complaint and hereby ORDERS:

            i.    The Secretary of State is enjoined from requiring date of birth on

                  any absentee ballot application forms or absentee ballot oath

                  envelopes generated by the Secretary of State, see O.C.G.A. § 21-

                  2-50(a)(5);

           ii.    The Secretary of State is enjoined from certifying election results

                  under O.C.G.A. § 21-2-499 until county election officials have
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         confirmed that they have not rejected any absentee ballots solely

         for missing or inaccurate dates of birth;

  iii.   The Secretary of State is enjoined to issue an Official Election

         Bulletin to all counties instructing them that in compliance with

         federal law, they must accept absentee ballot applications and

         ballots with missing or inaccurate dates of birth as long as the

         voter’s identity and eligibility can otherwise be verified; and

   iv.   The State Election Board is enjoined from enforcing the

         challenged provisions of SB 202 where counties accept absentee

         applications or ballots with a missing or inaccurate date of birth,

         including through: (a) the State Election Board’s power to

         undertake “appropriate proceedings” to impose penalties to

         “prohibit[] the actual or threatened commission of any conduct

         constituting a violation of state election law,” O.C.G.A. § 21-2-

         33.1(a), including through issuing cease and desist orders, id. § 21-

         2-33.1(a)(1); (b) the State Election Board’s authority to authorize

         an Attorney General Action in the name of the State Election

         Board, id. § 21-2-33.1(c); or (c) the State Election Board’s

         authority to suspend county or municipal superintendents and

         appoint a replacement, id. § 21-2-33.1(f).
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IT IS SO ORDERED this ___ day of _____, 2022.


                                  _____________________
                                  Honorable Steve C. Jones
                                  United States District Court Judge
